                               Case 3:22-cv-00301-FM Document 132-12 Filed 02/15/24 Page 1 of 5



                                                                 EXHIBIT A ‐ List of Proposed Exhibits

                 Email/Text
     Date          Time               Type              From                    To                                                      Comments
1     4/2/2022                Referral/Lead    Max Williams            Jascott Investments    Brandon Callier‐Aero Services LLC looking for 60K for Working Capital

2     4/5/2022    11:38 AM    Text Message     Mark Fawzy              Brandon Callier        Mark from JaScott Investment asking if he can call Brandon Callier

3     4/5/2022    2:49 PM     Email            Mitchell Scott          Brandon Callier        JaScott Loan Application sent via Docusign and requested last 3 mos. of bank statements
                                                                                              Re: Telephone conversation about capital options for the business. Sent application via docusign
4     4/5/2022    2:52 PM     Email            Mark Fawzy              Brandon Callier        for completion & need last 3 mos. of business bank statements
                                                                                              RE: Any updates on application and statements. Everything on Fawzy's side done & waiting for
5     4/5/2022    5:02 PM     Email            Mark Fawzy              Brandon Callier        Callier to send application and statements to provide offer.
                                                                                              Max Williams spoke with Callier last week and Mitch Scott following up to help obtain a
6     4/6/2022    9:30 AM     Email            Mitchell Scott          Brandon Callier        working capital loan of $60k for Aero Services
      4/8/2022                                 Mark Fawzy              Brandon Callier        Asking if Callier is looking for $50,000 and tells him he will be sending him Application. Callier
7                             Phone Call                                                      confims he received and will fill out
8     4/8/2022    10:32 AM    Text Message     Brandon Callier         Mark Fawzy             Callier stating "I'll call you back."
 9    4/8/2022    10:33 AM    Text Message     Mark Fawzy              Brandon Callier        Stating "Good Morning, are you available?"
10    4/8/2022    2:51 PM     Email            Mark Fawzy              Brandon Callier       Sends link to Complete Lending Application
      4/8/2022    5:56 PM     Internal Email   Mark Fawzy              Mitchell Scott & Dave Stating "Here is another file. He is looking for $50,000. He is sending the Application by the
11                                                                     Thurber               end of Today."
      4/8/2022    5:58 PM     Internal Email   Dave Thurber            Mark Fawzy &          Stating "Nice looks good on first look, send the app when you can."
12                                                                     Mitchell Scott
13    4/9/2022    3:33:59     Email            Brandon Callier         Mark Fawzy            Sends Bank Statements
     4/11/2022    08:42:48    Internal Email   Dave Thurber            Mark Fawzy &          Stating "Were you able to receive the app over the weekend?"
14                                                                     Mitchell Scott
     4/11/2022    10:46:35    Internal Email   Mark Fawzy              Dave Thurber &        Stating "I did send him the application link, He told Me that he will send it as soon as he gets
                                                                       Mitchell Scott        home. But I didn't get any confirmation reply. Can you please check did you received the
15                                                                                           application or not? Otherwise I am calling him back now."
     4/11/2022    11:04:36    Internal Email   Mitchell Scott          Mark Fawzy & Dave Stating "Here is the application."
16                                                                     Thurber
     4/11/2022    11:05:43    Internal Email   Dave Thurber            Mitchell Scott &      Stating "Got it thanks"
17                                                                     Mark Fawzy
     4/11/2022    11:10:00    Internal Email   Dave Thurber            Mitchell Scott &      Stating "is he looking for an mca/loc or equipment financing?"
18                                                                     Mark Fawzy
     4/11/2022    11:10:53    Internal Email   Mark Fawzy              Dave Thurber &        Stating "He is looking for a better deal, $60,000 If the rate is low and payback term is smooth
19                                                                     Mitchell Scott        the deal is on."
     4/11/2022    11:11:37    Internal Email   Dave Thurber            Mark Fawzy &          Stating "Better deal than what though?"
20                                                                     Mitchell Scott
     4/11/2022    11:16:28    Internal Email   Mitchell Scott          Mark Fawzy & Dave Stating to look at the equipment loan first but to also review for MCA/LOC and also asking
21                                                                     Thurber               what would be needed for the equipment loan.
     4/11/2022    11:17:35    Internal Email   Dave Thurber            Mitchell Scott &      Stating if the equipment value is below 100K they won't need the full file and asking for the
22                                                                     Mark Fawzy            DOT number and the trucks he is looking at.
                              Case 3:22-cv-00301-FM Document 132-12 Filed 02/15/24 Page 2 of 5


     4/11/2022   11:28:09    Internal Email   Mark Fawzy        Dave Thurber &        Stating "The equipment value is $60,000. Do I need to get the DOT number from him? Is he
23                                                              Mitchell Scott        qualified for Equipment Financing?"
     4/11/2022   12:48:29    Internal Email   Dave Thurber      Mark Fawzy &          Stating "Sorry just saw this, let me hear back first before I have you try and obtain anything."
24                                                              Mitchell Scott
     4/11/2022   14:37:22    Internal Email   Dave Thurber      Mark Fawzy &        Informing that Callier had a bankruptcy at the end of 2020 and that he won't be getting
                                                                Mitchell Scott      equipment financing. To let Dave know if to send for mca and that Callier still may not get
25                                                                                  approved.
     4/11/2022   14:47:02    Internal Email   Mitchell Scott    Dave Thurber & Mark Stating "Yes, please send for an MCA. Thanks."
26                                                              Fawzy
     4/11/2022   15:57:18    Internal Email   Dave Thurber      Mark Fawzy &        Regarding the subject line labeled Aero Services but the app and statements are "gonna keep
27                                                              Mitchell Scott      on trucking"??
     4/12/2022   09:30:42    Internal Email   Dave Thurber      Mark Fawzy &        Stating "Guys can you confirm?"
28                                                              Mitchell Scott
29   4/12/2022   09:42:54    Internal Email   Mitchell Scott    Dave Thurber        Stating "Checking."
     4/12/2022                                Mark Fawzy        Brandon Callier     Re: Prior Bankruptcies and tells him that offer for $50,000 is approved. Callier states to
30                           Phone Call                                             prepare Contract and will send them paperwork later due to being at the lake.

31   4/12/2022   2:06 PM     Text Message     Mark Fawzy        Brandon Callier       Mark asking Callier to call him back because he has good news
32   4/12/2022   2:06 PM     Text Message     Brandon Callier   Mark Fawzy            Stating "In a meeting. Will call when able"
33   4/12/2022   2:06 PM     Text Message     Mark Fawzy        Brandon Callier       Stating "yes sure, I'm waiting"
34   4/12/2022   4:58 PM     Text Message     Mark Fawzy        Brandon Callier       Requesting Callier check his mail & to send over business voided check & DL
35   4/12/2022   6:56 PM     Email            Mark Fawzy        Brandon Callier       Requesting Business voided check & Owners Drivers License
36   4/12/2022   5:01 PM     Email            Dave Thurber      Brandon Callier       Follow‐up to Mark's email on 4/12/2022 and the order of funding
37   4/12/2022   7:10 PM     Email            Brandon Callier   Dave Thurber          Attachments: Voided Check & Driver License
     4/12/2022   7:12 PM     Internal Email   Dave Thurber      Mark Fawzy &          Stating "not sure if her sent to you but see below. I'm on it."
38                                                              Mitchell Scott
     4/12/2022   7:14 PM     Internal Email   Mark Fawzy        Dave Thurber &        Stating "Wow, perfect! Let's get it done brother. Really excited"
39                                                              Mitchell Scott
     4/12/2022   7:15 PM     Internal Email   Dave Thurber      Mark Fawzy &          Stating "Sounds good, I'll circle back here tomorrow when docs go out."
40                                                              Mitchell Scott
41   4/13/2022   9:42 AM     Email            Dave Thurber      Brandon Callier     Re: Contracts and Bank Verification were sent for Callier to complete
42   4/13/2022   20:03:51    Internal Email   Dave Thurber      Mark Fawzy          Stating "Let's follow up with Brandon after this call to get this wrapped up today!"
     4/13/2022   20:05:05    Internal Email   Mark Fawzy        Dave Thurber        Stating "Good Morning, Yes sure did he signed the contract? Do I need to call him or you are
43                                                                                  going to call him?
     4/13/2022   20:06:13    Internal Email   Dave Thurber      Mark Fawzy          Stating "I'll give him a buzz after this call to walk him through the closing process. Pretty
44                                                                                  simple and not many stips needed here"
     4/13/2022   20:35:46    Internal Email   Mitchell Scott    Dave Thurber & Mark Stating "Hey Dave, I have a meeting after this call, but Mark is all on this. We spoke last night.
45                                                              Fawzy               Reach out to him if you need too. Let's go."
     4/13/2022   20:38:04    Internal Email   Dave Thurber      Mitchell Scott &    Stating "cool stuff"
46                                                              Mark Fawzy
47   4/13/2022   11:18 AM    Text Message     Mark Fawzy        Brandon Callier     Stating "fill out the contract paper and bank verification and let me know please"
48   4/13/2022    13:47:00   Text Message     Mark Fawzy        Brandon Callier     Stating "sir! are you free at this moment?"
49   4/13/2022   12:51 PM    Email            Dave Thurber      Brandon Callier     Stating "Brandon, Please see the link here. https://www.decisionlogic.com/44B2G6
50   4/13/2022               Document                                                 Merchant Agreement ‐ Total Revenue Program Date: April 13, 2022
                               Case 3:22-cv-00301-FM Document 132-12 Filed 02/15/24 Page 3 of 5


     4/13/2022    00:47:04    Internal Email   Dave Thurber            Mark Fawzy           Stating "he was trying to complete then had a computer issue. give him a call to see whats up"
51
     4/13/2022    2:48 PM     Internal Email   Mark Fawzy              Dave Thurber         Stating "When was it? I just called him a minute back he didn't picked up."
52
     4/13/2022    00:49:08    Internal Email   Dave Thurber            Mark Fawzy           Stating "Like an hour ago roughly."
53
54   4/13/2022    00:50:00    Internal Email   Mark Fawzy              Dave Thurber         Stating "okay, let me try back again in next 10 minutes."

55   4/13/2022    01:06:32    Internal Email   Dave Thurber            Mark Fawzy           Stating "he answer?"

56   4/13/2022    3:07 PM     Internal Email   Mark Fawzy              Dave Thurber         Stating "No he haven't answered, Would you like to give him a call?"

57   4/13/2022    01:08:13    Internal Email   Dave Thurber            Mark Fawzy           Stating "sure"

58   4/13/2022    3:09 PM     Internal Email   Mark Fawzy              Dave Thurber         Stating "Do let me know please"

59   4/13/2022    01:10:20    Internal Email   Dave Thurber            Mark Fawzy           Stating "no answer"

60   4/13/2022    3:12 PM     Internal Email   Mark Fawzy              Dave Thurber         Stating "let me try back after 20 mintues again"

61   4/13/2022    3:15 PM     Internal Email   Dave Thurber            Mark Fawzy           Stating "thank you."

62   4/13/2022    01:39:53    Internal Email   Dave Thurber            Mark Fawzy           Stating "What's his deal?"
63   4/13/2022    5:08 PM     Email            Mark Fawzy              Brandon Callier     Follow‐up on Completion of Bank Verification and Contracts
64   4/13/2022    5:19 PM     Email            Dave Thurber            Brandon Callier     Re: If Capital needed before weekend complete contracts & Bank Verification
65   4/14/2022    1:16 PM     Email            Dave Thurber            Brandon Callier     Tried Calling ‐ Want to know when can speak
66   4/15/2022    03:12:00    Email            Dave Thurber            Brandon Callier     Left message w/assoicate ‐ want to know when will complete transaction
     4/15/2022    03:41:04    Internal Email   Dave Thurber            Mitchell Scott &    Stating "he's probably getting everything aligned with his Bankruptcy lawyer before he takes
67                                                                     Mark Fawzy          our deal…"
68   4/14/2022   6:52:10 PM   Internal Email   Mark Fawzy              Dave Thurber        Stating "Do I need to call him back or is it going to be tomorrow?"
69   4/15/2022    05:02:48    Internal Email   Dave Thurber            Mark Fawzy          Stating "Yes find out why he is MIA"
70   4/19/2022    9:52 AM     Email            Dave Thurber            Brandon Callier     Left multiple messages/lack of communication/when will deal be complete
                                                                       Mitch Scott & Mark
71   4/19/2023    10:53:28    Email            Dave Thurber            Fawzy               Stating "What's going on here? My managers are freaking out on me"
                                                                       Dave Thurber & Mark
72   4/19/2023    21:57:16    Email            Mitchell Scott          Fawzy               Stating "I don't know what is happening. Mark have you heard anything else?"
73   4/19/2022    23:26:27    Email            Dave Thurber            Brandon Callier     Per conversation, provided bank verification link
74   4/19/2023   11:44 AM     Email            Pac Western Financial   Brandon Callier     Please DocuSign: Gonna Keep On Truckin Agreement 041322
                                                                       Mitchell Scott &
75   4/19/2022    11:02:00    Internal Email   Dave Thurber            Mark Fawzy          Stating "Here GetOutlook for iOS"
76   4/19/2022    22:22:59    Internal Email   Mark Fawzy              Dave Thurber        Stating "the link is showing broke, I can't get into it to get the app."

                                                                       Dave Thurber &       Stating "I called his business number, he did pick up as soon as he received he just hanged up on
77   4/19/2022    12:06:37    Internal Email   Mark Fawzy              Mitchell Scott       me 9159298309 this is his business number, would you like to give him a call?"
                                                                       Mark Fawzy &
78   4/19/2022    12:21:00    Internal Email   Dave Thurber            Mitchell Scott       Stating "I have tried multiple times, this should be the sales rep job."
                                                                       Mark Fawzy & Dave    Stating " Interesting…sounds like this one is dead. Not sure why he can't say he does not want
79   4/19/2022    1:23 PM     Internal Email   Mitchell Scott          Thurber              to move forward."
                                                                       Mitchell Scott &
80   4/19/2022    12:23:54    Internal Email   Dave Thurber            Mark Fawzy           Stating "just called he actually picked‐up ‐ im resending docs"
81   4/19/2022    2:31 PM     Text Message     Brandon Callier         Mark Fawzy           Text stating DNC or Text again.
82   4/19/2022    2:33 PM     Text Message     Mark Fawzy              Brandon Callier      Stating "I just send you the email again"
                                Case 3:22-cv-00301-FM Document 132-12 Filed 02/15/24 Page 4 of 5


83    4/19/2022    2:33 PM     Text Message     Mark Fawzy        Brandon Callier   Stating "at callier74"
84    4/19/2022    2:34 PM     Text Message     Mark Fawzy        Brandon Callier   Stating "you got the mail from mark.fawzy@jascott.org"
                                                                                    RE: Callier getting blasted with calls & to save the phone numbers and to advise when Callier
85    4/19/2022    4:26 PM     Text Message     Mark Fawzy        Brandon Callier   has signed.
86    4/19/2022    4:32 PM     Email            Mark Fawzy        Brandon Callier   Resent Thurber's email from 4/19/2022
87    4/20/2022     2:32:50    Email            Mark Fawzy        Brandon Callier   Per conversation, provided bank verification link
88    4/20/2022     3:07:03    Email            Dave Thurber      Brandon Callier   To advise when bank verification complete & sign contracts to do funding call asap
89    4/19/2022   5:07:59 PM   Internal Email   Mark Fawzy        Dave Thurber      Stating "Did he completed the bank verification"
90    4/19/2022     5:11:31    Internal Email   Dave Thurber      Mark Fawzy        Stating "No clue. I'm in Miami at a work event"
91    4/20/2022    03:11:41    Internal Email   Dave Thurber      Mark Fawzy        Stating "Doing the best I can to help here I'll ask my team"
                                                                                    Stating "I think this guy is in a mess, let us spare him some time. Let me call him back
92    4/19/2022   5:22:07 PM   Internal Email   Mark Fawzy        Dave Thurber      tomorrow"
93    4/20/2022     03:25:00   Internal Email   Dave Thurber      Mark Fawzy        Stating "Ok at least now we know the issue"
94    4/19/2022   5:25:55 PM   Internal Email   Mark Fawzy        Dave Thurber      Stating "Yes"
95    4/20/2022     03:34:00   Internal Email   Dave Thurber      Mark Fawzy        Stating "You need to have him save your number"
96    4/20/2022    11:04 AM    Text Message     Dave Thurber      Brandon Callier   Asking if Callier will be signing and telling him he'll text since he doesn't want him to call.
97    4/20/2022     2:34 PM    Text Message     Dave Thurber      Brandon Callier   Clarifying that it's Dave from Upwise & the $50k contracts
      4/21/2022                Phone Call       Mark Fawzy        Brandon Callier   Mark tells Callier he's the same person that's been helping him with the Contract and
                                                                                    apologizes for being bombarded with calls from others. Callier asks him to resend the bank
98                                                                                  verification link again. Asks if he can call him back.
      4/21/2022    16:00:42    Internal Email   Mark Fawzy        Dave Thurber &    Informing that he got Callier on the line and covinced him to save Mark's number. Callier said
                                                                  Mitchell Scott    he would call him back in 10 minutes and Mark sent him the old bank verification link.
99
      4/21/2022    16:01:31    Internal Email   Dave Thurber      Mark Fawzy &      Dave shared his phone number.
100                                                               Mitchell Scott
      4/21/2022    17:09:00    Text Message     Mark Fawzy        Brandon Callier   Stating "sir did you received my mail?"
101
      4/21/2022    4:56 PM     Email            Mark Fawzy        Brandon Callier   Per our conversation, see bank verification below
102
103   4/21/2022    5:17 PM     Email            Mark Fawzy        Brandon Callier   Re: Bombarded w/Calls and provided bank verification link, per phone conversation
104   4/22/2022     2:58:44    Email            Dave Thurber      Brandon Callier   Follow‐up to contracts resent a few days back
      4/22/2022                Phone Call       Mark Fawzy        Brandon Callier   Mark asks Callier for confirmation of received email of the bank verification and contract and
105                                                                                 Callier confirms receipt.
106   4/22/2022     3:17:45    Email            Mark Fawzy        Brandon Callier   Re: phone conversation & one step left to complete get $50,000
107   4/22/2022   11:32 AM     Email            Mark Fawzy        Brandon Callier   Follow‐up to signing contracts and requesting call back
108   4/22/2023      14:31     Text Message     Mark Fawzy        Brandon Callier   Stating "sir can you please call back"
109   4/22/2023      14:37     Text Message     Brandon Callier   Mark Fawzy        Stating "I'm eating lunch with my staff"
110   4/22/2023      14:38     Text Message     Mark Fawzy        Brandon Callier   Stating "Oh! I apologize sir, do give me a callback please when you are done"
111   4/22/2023      14:38     Text Message     Mark Fawzy        Brandon Callier   Stating "I won't make it long for you, I just need 10 minutes of your valuable timw"
112   4/23/2022    7:39 PM     Email            Dave Thurber      Brandon Callier   Asking what the delay is
113   4/25/2022   10:43 AM     Email            Dave Thurber      Brandon Callier   Asking when Callier is going to sign
114   4/25/2022    1:57 PM     Email            Dave Thurber      Brandon Callier   Just need signed docs/bank verification/funding call. What's the delay
115   4/25/2022    5:22 PM     Email            Dave Thurber      Brandon Callier   Re: Why gone MIA, have sent docs a few times and provided a simple closing process
116   4/26/2022    3:11 PM     Email            Dave Thurber      Brandon Callier   Re: Don't need $50,000 & Approval with 2 bankruptcies
117   4/27/2022    4:05 PM     Email            Dave Thurber      Brandon Callier   ????????
118   4/27/2022    15:07:05    Email            Dave Thurber      Brandon Callier   Re: Never had a borrower go MIA
                              Case 3:22-cv-00301-FM Document 132-12 Filed 02/15/24 Page 5 of 5


       5/2/2022   5:49 AM    Text Message     Dave Thurber          Brandon Callier      Asking if Callier saw the 2 offers he sent him via email last week and tells Callier its Dave at
119                                                                                      Upwise and realizes Callier's getting a million calls.
120    5/5/2022   3:23 PM    Text Message     Dave Thurber          Brandon Callier      Askng if the offers he sent work for Callier.
       6/8/2022   19:41:22   Internal Email   Dave Thurber          Mark Fawzy &         Stating "I take it we never got him on the phone? I'm going to friend him."
121                                                                 Mitchell Scott
       6/8/2022   20:03:19   Internal Email   Mitchell Scott        Dave Thurber & Mark Stating "No. He stopped returning our call."
122                                                                 Fawzy
123   8/26/2022              Document         Brandon Callier                           PAC Western Financial LLC Business Information
124   1/24/2023              Document         Brandon Callier                           JaScott Website Information
125                          Document         Jascott Investments                       Standard Operation Procedures for Phone Sales
